                                    10 Filed 06/21/21
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                                                                                    Docket No.:____________
                                                                                               21-cv-01125 (NGG)(CLP)
                          INITIAL CONFERENCE QUESTIONNAIRE

1.      Date for completion of automatic disclosures required by Rule 26(a)(1) of the Federal Rules of
        Civil Procedure, if not yet made: 7/7/2021

2.      If additional interrogatories beyond the 25 permitted under the federal rules are needed, the
        maximum number of: plaintiff(s) N/A and defendant(s) N/A

3.      Number of depositions by plaintiff(s) of: parties    2   non-parties 8

4.      Number of depositions by defendant(s) of:     1 parties
                                                                      9       non-parties

5.      Date for completion of factual discovery: 10/31/2021

6.      Number of expert witnesses of plaintiff(s):         medical       1    non-medical

                Date for expert report(s): 11/22/2021

7.      Number of expert witnesses of defendant(s):          medical      1 non-medical

                Date for expert report(s): 11/22/2021

8.      Date for completion of expert discovery: 12/13/2021

9.      Time for amendment of the pleadings by plaintiff(s) 1/4/2022
        or by defendant(s)

10.     Number of proposed additional parties to be joined by plaintiff(s) 0 and by
        defendant(s) 0 and time for completion of joinder: 10/21/2021

11.     Types of contemplated dispositive motions: 1 plaintiff(s): SJ
                   2      defendant(s): SJ/MTD

12.     Dates for filing contemplated dispositive motions:       plaintiff(s): 1/24/2021
                                                 defendant(s): 1/24/2021

13.     Have counsel reached any agreements regarding electronic discovery? If so, please describe at the
        initial conference. No

14.     Have counsel reached any agreements regarding disclosure of experts' work papers (including
        drafts) and communications with experts? If so, please describe at the initial conference. No

15.     Will the parties consent to trial before a magistrate judge pursuant to 28 U.S.C. '636(c)? (Answer
        no if any party declines to consent without indicating which party has declined.) *
        Yes        No X
__________________________________________________
* The fillable consent form may be found at
http://www.nyed.uscourts.gov/General_Information/Court_Forms/court_forms.html and may be filed electronically
upon completion prior to the initial conference, or, brought to the initial conference and presented to the
Court for processing.
